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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
               Plaintiff                     )
                                             )
 v.                                          ) Cause No. 4:11-cr-8-SEB-MGN-3
                                             )
 ZACHARY BABCOCK,                            )
                                             )
               Defendant                     )


             MAGISTRATE JUDGE=S REPORT AND RECOMMENDATION

        This matter is before the undersigned U.S. Magistrate Judge pursuant to the Order

 entered by the Honorable Sarah Evans Barker, U.S. District Court Judge, on April 3, 2013,

 designating the Magistrate Judge to conduct a hearing on the Petition for Warrant or Summons

 for Offender Under Supervision filed with the Court on April 2, 2013, and to submit to Judge

 Barker proposed Findings of Facts and Recommendations for disposition under Title 18 U.S.C.

 ''3401(i) and 3583(e) and (g). An Initial Hearing in this matter was held on May 31, 2013, and

 disposition proceedings were held on that same date, in accordance with Rule 32.1 of the

 Federal Rules of Criminal Procedure and 18 U.S.C. '3583. The defendant, Zachary Babcock,

 appeared in person with his appointed counsel, John F. Carroll. The government appeared by

 Matthew Rinka, Assistant United States Attorney, via telephone. U.S. Probation appeared by

 Brian Bowers, who participated in the proceedings.

        The following procedures occurred in accordance with Rule 32.1 Federal Rules of

 Criminal Procedure and 18 U.S.C. '3583:




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         1. On May 31, 2013, John F. Carroll was present for the initial hearing and was

 appointed by the Court to represent Mr. Babcock regarding the pending Petition on Offender

 Under Supervision.

         2. A copy of the Petition on Offender Under Supervision was provided to Mr. Babcock

 and his counsel who informed the Court that they had read and understood the specifications of

 each alleged violation and waived further reading thereof.

         3. Mr. Babcock was advised of his right to a preliminary hearing and its purpose in regard

 to the alleged specified violations of his supervised release contained in the pending Petition.

         4. Mr. Babcock was informed that he would have the right to question witnesses against

 him at the preliminary hearing unless the Court, for good cause shown, found that justice did not

 require the appearance of a witness or witnesses.

         5. Mr. Babcock was afforded the opportunity to appear at the preliminary hearing and

 present evidence on his own behalf.

         6. Mr. Babcock was informed that, if the preliminary hearing resulted in a finding of

 probable cause that Mr. Babcock had violated an alleged condition or conditions of his

 supervised release set forth in the Petition, he would be held for a revocation hearing before the

 undersigned Magistrate Judge, in accordance with Judge Barker=s designation entered on April 3,

 2013.

         7. At that time the defendant, by counsel, stated his readiness to waive the preliminary

 examination and proceed with the revocation hearing. Mr. Babcock then waived, in writing, the

 preliminary hearing.

         8. The parties then advised the Court they had reached an agreement as to a

 recommended disposition which they wished to submit to the Court.



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        9. The parties stipulated the following in open Court:

            (a) As to Violation Numbers 2 through 5 of the Petition for Offender Under

                Supervision, the defendant admitted in open Court that he had violated these

                conditions.

            (b) The parties, by agreement, stipulated that the defendant=s supervised release

                would be revoked and the defendant would serve fifteen (15) months

                imprisonment with no term of supervised release to follow.

            (c) The government orally moved to dismiss Violation No. 1.

        10. The Court then proceeded to a revocation hearing upon the allegations of alleged

 violations of the Terms of Supervised Release, particularly as set out in Violation Numbers 2

 through 5 of said Petition. The Court placed Mr. Babcock under oath and inquired of him

 whether he admitted to the specifications alleged in the Petition on Offender Under Supervision,

 and Mr. Babcock admitted the violations contained in Violation Numbers 2 through 5 to the

 extent that they do not reference Violation No. 1, which he does not admit. The Court

 specifically inquired of Mr. Babcock whether he was making these admissions voluntarily and

 free from any duress, promises or undue influence. The Court further advised Mr. Babcock that

 the Court was not bound by any particular plea agreement made between the United States and

 Defense Counsel. To all of which Mr. Babcock answered in the affirmative. The Court finds the

 admissions were knowingly and voluntarily entered into and that there was a basis in fact for

 revocation in regard to Violation Numbers 2 through 5. The violations are summarized as

 follows:




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 Violation Number               Nature of Noncompliance

        2                       “The defendant shall report to the probation officer and shall
                                submit a truthful and complete written report within the first five
                                days of each month.”

        3                       “The defendant shall notify the probation officer at least ten days
                                prior to any change in residence or employment.”

                                On February 2, 2013, the offender’s pregnant girlfriend contacted the
                                Clark County, Indiana, Sheriff’s Department to report he moved out of
                                their apartment a few days prior and, on February 1, 2013, he returned to
                                the apartment against protest to claim his belongings.

                                On February 8, 2013, this officer contacted the offender’s girlfriend, and
                                she advised he had not returned and his residence was unknown. It is
                                noted the offender did not advise his probation officer that he relocated.
                                On February 11, 2013, he submitted a monthly report falsely indicating
                                he still resided with his girlfriend.

        4                       “The defendant shall participate in a program of testing for
                                substance abuse to include no more than eight drug tests per
                                month and shall pay a portion of the fees of testing.”

                                On January 17 and 31, 2013, and March 26 and 27, 2013, the offender
                                failed to report for drug testing. It is noted the offender was specifically
                                instructed by his probation officer to report to the January 17, 2013, drug
                                test. He agreed, but did not report as instructed. On March 26, 2013, after
                                missing his drug test, a voice mail message was left for him instructing
                                him to report for drug testing the next day to make up for the missed test.
                                As noted, he did not do so.

        5                       “The defendant shall perform 8 hours of community service per
                                month for each of the 3 years of supervised release.”

                                Although the offender has provided no proof, by his own admission, he
                                has performed a total of only 11 hours of community service, to date.


        11. Based on the information available to the Court, the Court further finds the

 following:
              (1) Mr. Babcock has a relevant criminal history category of I. See, U.S.S.G.

              '7B1.4(a).



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            (2) The most serious grade of violation committed by Mr. Babcock constitutes a

                Grade A violation, pursuant to U.S.S.G. '7B1.1(b).

            (3) Pursuant to U.S.S.G. '7B1.4(a) and (b)(3)(A), upon revocation of supervised

                release, the range of imprisonment applicable to Mr. Babcock is twelve (12) to

                eight (18) months.

            (4) The appropriate disposition for Mr. Babcock’s violation of the conditions of

                supervised release is as follows:

                (a) Defendant shall be committed to the Bureau of Prisons to serve a term of

                imprisonment of fifteen (15) months with no term of supervised release to

                follow.

                (b) The Court further recommends that Defendant be placed in a drug and alcohol

                treatment program while incarcerated at the Bureau of Prisons.

                (c) Violation No. 1 is DISMISSED on the motion of the Government.

        The Court, having heard the admission of the defendant, the stipulation of the parties and

 the arguments and discussions on behalf of each party, NOW FINDS that the defendant violated

 the above-delineated conditions of his supervised release as set forth in Violation Numbers 2

 through 5 of the Petition. The defendant=s supervised release is hereby REVOKED, and

 Zachary Babcock shall be committed to the Bureau of Prisons to serve a term of imprisonment of

 fifteen (15) months with no term of supervised release to follow. The Court further recommends

 the Defendant for placement in a drug and alcohol treatment program while incarcerated at the

 Bureau of Prisons. Violation No. 1 is dismissed on the motion of the Government.

         The Magistrate Judge requests that Brian Bowers, U.S. Probation Officer, prepare for

 submission to the Honorable Sarah Evans Barker, District Judge, as soon as practicable, a

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 supervised release revocation judgment, in accordance with these findings of fact, conclusions of

 law and recommendation.

        Counsel for the parties and Mr. Babcock stipulated in open court their waiver of the

 objection to the Report and Recommendation of the undersigned Magistrate Judge pursuant to

 Title 28 U.S.C. §636(b)(1)(B); Rule 72(b), Federal Rules of Civil Procedure, and S.D. Ind. L.R.

 72.1 (d)(2), Local Rules of the U.S. District Court for the Southern District of Indiana.

        Counsel for the parties and Mr. Babcock entered the above stipulation and waiver after

 being notified by the undersigned Magistrate Judge that the District Court may refuse to accept

 the stipulations and waivers and conduct a revocation hearing pursuant to Title 18 U.S.C. §3561

 et seq. and Rule 32.1 of the Federal Rules of Criminal Procedure and may reconsider the

 Magistrate Judge’s Report and Recommendation, including making a de novo determination of

 any portion of the Report or specified proposed findings or recommendation upon which he may

 reconsider.

        WHEREFORE, the U.S. Magistrate Judge RECOMMENDS the Court adopt the above

 Report and Recommendation revoking Zachary Babcock’s supervised release.

        IT IS SO RECOMMENDED this 10th day of June, 2013.



                                                __________________________________
                                                Michael G. Naville, Magistrate Judge
                                                United States District Court



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